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lN THE UNITED STATES§DISTRICT COURT fz
FOR THE SOUTHERN DlSTRICT OF OHIO
WESTERN DlVlSION

SAMUEL ROBINSON, on behalf of

himself and a class of others similarly ' Class Action§Complaint
Situated, y , t and jury demand
Plaintiffs,
v. CASE NO.

sHERiFF ]IM NEIL, individually and
yIn his capacity as Sheriff of Hamilton
County Ohio
Defendant
Introduction
1. This is an action pursuant tof 42 U.S.C. §l983 challenging the overcrowded §
conditions endured by detainees at the Harnilton County ]ustice Center.
2. This Court has jurisdiction pursuant to 28 U.S.C. §1331, and venue is proper
y under ZB'U.S.C. §1391(b) as the Defendant is situated in this iudicial district
l Parties d
» 3. Plaintiff Samuel Robinson is presently an inmate of the Hamilton County ]ustice
Center. He is serving a 180-day sentence from the Hamilton County `Court of
Common Pleas on a conyiction of a drug possession chargey § g
4. Defendant ]im Neil is the Sheriff of §Hamilton County. In that capacity
Defendant Neil is responsible for the Hz;milton County ]ustice Center including

the care and treatment of inmates detained in that facility. He has the final

policymaking authority over the jail for the actions at issue in this complaint He

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is responsible for ensuring that the policies and practices of the ]ustice Center
comply'With Constitutional requirements for the treatment of jail detainees
Sheriff Neil is sued in his official and individual capacities for the challenged
conditions of confinement

Statement of Facts 0
. Samuel Robinson suffers from Osteonecrosis (Avascular Ne‘cr;osis)éa disease that
develops as a consequence of the loss of blood supply to the bone Which causes
the bone to die. lf the affected bone is near a joint, the joint surface can collapse
As osteonecrosis progresses the pain that is associated With it limitsrange of
motion and becomes disabling y
. Samuel ;Robinson for some number of years has had this disease He is{disabled
by it and is in constant pain. Simple movements such as getting out of bed,
sitting or bending down are painful and Without proper medication are
excruciatingly painful 0
. Samuel Robinson Wascharged With possession of cocaine in`an amount that Was
less than 5 grams in violation of R.C 2925.11 (A) and Was convicted on
6 / 28 / 2017 and given a sentence of 180 days in the Hamilton)County:]ustice
Center.

. Mr. Robinson entered the Hamilton County ]ustice Center on 8/4/ 2017 and on

s / 9 / 2017 st assigned to Pdd south 21 (szi).

9.

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Because of the overcrowding of the Hamilton County justice fenter Mr.
Robinson was assigned to a ”boat”for sleeping purposes and not assigned to a

cell with a bunk.

10. The ”boats" are casket-like plastic shells that are placed on the floor in the

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middle of the pods where newly admitted inmates must sleep until 7a cell
becomes available after inmate turnover New inmate admittees can sleep on the
floor for weeks waiting for an available cell.' A pod often is cluttered with much
of its floor space covered by ”boats.”
During the relevant time there were, on average, approximately seven totten
boats in Plaintiff's pod. Plaintiff believes that this is typical of the number of
boats used in many other pods at the justice Center.`
Inmates sleeping in boats have access only to a single toilet in}one cell during the
hours of ”lights out.” ”Lights out” in the pod area is only the dimming of the
j §

large bank of lights that ring the ceiling gof the pod.

Inmates, including l°laintiff, suffer from sleep deprivation as a result of having
to be in ”boats” during the night hours.
Mr. Robinson has witnessed as many as ten ”boats” on the floor of the pod at one
time.

The crowding of the floor of the pods has resulted in violent encounters
between inmates and guards Mr. Rbbinson witnessed one such violent
encounter between a guard and an inmate that resulted in`the inmate being

handcuffed and taken to solitary

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16. Cn june 14, 2017 the Sheriff of Hamilton County announced;a state of emergency
at the Hamilton County justice Center due to jail overcrowding in a memo to
Commissioner Portune, the Sheriff stated:

For approximately a year now l have been warning all county agencies of the
disturbing and unsustainable upward trend of our inmate population count at
the jail. rAs the Commanders pointed out in their letter to me (attached);we
reached a boiling point this week. l cannot and will not jeopardize the safety of

my Deputies and subject them to an ongoing volatile, dangerous environment in
our jail Nor will l put the inmates, medical staff and others in harm' s way.

Your own County Risl< Management, as well as the Hamilton County
Prosecutor‘ s Office and State jail Ins`pectors all concur we are now well outside of
acceptable practices at the jail, (Ex. E).

17. The jail houses inmates that now e>iceed twice its design capacity A significant
consequence of this jail overcrowding is! the need to use the ”boats” and the
unsafe conditions resulting therefrom. v

18. The gourt and jail Services Division Commander of the Sherifffs office has
determined thatl, ”We can nolonger manage a safe environment for both our

staff and inmatelpopulation.” (Ex. F).

19. The above characterization by the Division Commander remains today.

20. When Mr. Robinson was advised by the Sheriff Deputy on 842 that he would
have to sleep in a ”boat," Mr. Robinson stated that he could not ”iget down and back
up” out of the boat because of his disease l\/lr. Robinson inquired of the Deputy
when a cell would become available and the Deputy: replied that he had no idea, but

Would ask his supervisor. When he was finally informed that there was no cell

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available and that he was assigned to a "boat.'{ Mr. Robinson again protested, and as

a result he was sent to solitary confinement as a punishment

21. Solitary confinement consists of being confined in a cell for 23 hours a day with
no phone privileges, no T.V. no access to the library, and disciplinary food- a
disciplinary burger, known as a ”DBU" which is inedible.

22. Mr. Robinson was in solitary until 8 / 9 / 201 7. He Was unable to eat his entirely
unpalatable DBU during that time. 3 l

23. On 8 / 9 / 2107 Mr. Robinson filed a grievance, Exhibit A, which stated ”l have
advascular sclerosis (sic) which is a bone disease lj'am unable to get off the floor
easy and the officer on second shift made me goto the hole instead of giving me
the medical attention that I needed. l don't know the officer; s name but l was on
821 when this occurred. Un top of that they served me 0BU's. l have high blood
pressure and high chloresterol’j (sic). 0

24. Gn 8 / 29 / 2017, not having a response to his grievance of 8 / 9 / 201 7, filed a
grievance that stated, in part, ”. .. l didn’t get a response from‘my last grievance
from being punish (sic) formy health conditions l would like to here (sic) a

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response from this grievance . ." (Ex. B)

25. Again not having a response:to his 8 / 9 / 2017 grievance, Mr. Robinson filed a
third grievance on 9 / 13 / 2017 stating ”I would like a response or copy of my
grievance date submitted on 8 / 9 / 17 for being punished for my health

conditions . .” (E><. C).

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26. On 8 / 25 / 2017 a motion was filed on Mr. Robinson’s behalf in the Hamilton
County Court of Common Pleas seeking to mitigate his sentence (Ex. D).
Attached to the memorandum in support of the motion were medical records
indicating that Mr. Robinson's diagnosie included, ”Cl-IRGl\liC PAIN
SYNDRGME, AVASCULAR NECROSI8 (HCC) CHRONIC PAIN OF BOTH
SHOULDERS, CHRONIC PAIN OF BOTH ANKLES, BILATERAL 1-IIP PAIN,
and KNEE EFFUSION, LEFT.”

27. The motion was denied by judge jerome Metz. On 9 / 8 / 2017 a lawyer was
appointed for the purpose of an appeal j § 1

28. Mr. Robinson remains in the Hamilton County justice Center with an outdate of
1 / 19 / 2018. 1

29. Mr. Robinson will continue to reside in an unsafe and violent environment until

his discharge from the jail.

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30. To avoid violent encounters ;,Mr. Robinson confines himself to his cell practically

all day and night
Class Action Allegations
31. Samuel Robinson brings this action on his behalf and on behalf of a class of
those similarly situated pursuant to Rule 23 (b);(2) of the fiederal Rules of§(;ivil
Procedure. l
32. Plaintiff Robinson seeks to represent a classconsisting of all inmates of the

Hamilton County justice Center since Gctober 2015.

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33. Plaintiff estimates that in that twoyear period there were over 5,000 persons
detained at the Hamilton County,justice Center. 2
34. Common questions of law and fact exist as to all class members Among the
common questions are:
a. whether the conditions of confinement in an overcrowded jail violate class
members' rights under the Eighth and F:ourteenth Amendment to §the
United States Constitution by subjecting them conditions of confinement
that subject each of them to imminent risk of physical and psychological
r harm ,' l
b. whether the Hamilton County Sheriff, jim Neil, and Haniilton County
; maintain a policy, custom and / oi‘ widespread practice of violating class
members’ rights underthe Eighth and Fourteenth Amendme;nt through
t the conditions under which the Sheriff's office confines the class members,'
c.: whether the policymakers of the Sheriff's office institiited the conditions
of confinement, condoned such conditions, and / or were deliberately
indifferent to them; and :
d. whether Defendant Neil failed in his supervisory responsibility to have
avoided the violations of class members’ rights z
35. The claims of the Plaintiff are typical of the claims of the class.
36. Plaintiff Robinson will fairly and adeduately represent the interests of the class.
Plaintiff is represented counsel who has had experience in class actions and jail

conditions litigation

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37. The party opposing the class the class has acted or has refused to act on grounds
y that apply generally to the class as a whole, so that final injunctive relief and
corresponding declaratory relief is appropriate for the entire class
38. The questions of law and fact common to the members of the class predominate
over any individual issues that may yexist.
39. A class action Would be the most fair and efficient method ~,of adjudicating the

class members claims and therefor the superior method of adjudication

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Count I -Class Claims pursuant to 42 U. S. C. §1983 for violations of the Eighth
and Fourteenth Amendments

40. Each preceding paragraph of this complaint is incorporated herein.

41. TheDefendant has violated Plaintiffs’ and class members’ rights under the
Eighth and Fourteenth Amendments by subjecting Plaintiff and class members to
dangerous conditions of confinement and creating a substantial risk of serious
harm to Plaintiffs and not incidentally to Deputy Sheriffs Working in the
Hamilton County justice Center, and, in fact, causing serious harm to Plaintiffs
and class members l v

42. The policies, customs and / or widespread practices of the pelicy members of the
Hamilton County Sheriff’s (jffice'are the moving\force behind and the cause of
these violations

43. As a direct result of Defendants conduct as described above,z Plaintiff has

suffered both physical pain and serious emotionalstress,

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y 44. In addition, it is likely that many of the class members have suffered both
physical as well as emotional injuries as a result of Defendant's conduct
described above.

Count II- Plaintiff Robinson’ s individual claim pursuant to 42 U. S. C. §1983
for a Violation of the Fourteenth Amendment

45. Each preceding paragraph of this complaint is incorporated herein.

46. The confining of the Plaintiff tosolitary confinement for four days for his mere
complaining of his inability to sleep on the floor in a ”boat” because of his
medical condition and resulting pain is a violation of Plaintiff's rights under the
Eighth and Fourteenth Amendment to the United States Constitution.

y Requests for Relief
WHEREFORE, Plaintiffs request this Court to:

A. Certify this case as a class action pursuant to Rule 23 (b)(2) of the liederal Rules
of Civil Procedure,' 0 j y

B. Issue a preliminary and permanent injunction against the Defendant enjoining
the Defendant from using ”boats” or any other temporary sleeping fixture as a
means of housing inmates beyond the cell capacity of the Hamilton County
justice Center; 0 l

C. Enjoin Defendant from maintaining dangeroust high inmate population §
numbers,'

D. Award Plaintiff Robinson damages for his pain and suffering for having been

confined in solitary confinement;

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E. Award Plaintiffs' counsel reasonable attorneys fees;

j

F. Grant such other relief as is just and necessary
Respectfully submitted,

/ s/ Robert B. Newman `

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Cincinnati, OH 45202
513-639-7000

robertnewman@newman-meeks.com

 

 

g s[ Michael j. O'Hara ;

Michael j. O’Hara (0014966) 1

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859~221~2000 `

;_mohara@oharatavlor.com l

 

/S/Mere D.Mezibev (0019316)
Mezibov Butler l

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Cincinnati, OH 45202
513-621-8800

minexibov@mezibov .com

 

]URY DEMAND

\Plaintiffs demand trialby jury as provided by law.

/s/ Robert B. Newman

 

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Inmate’s Signature

 

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H_AM]LTON COUNTY COURT OF CON[MON PLEAS
CRIM]NAL DIVISION
HAlWIETON COUNTY, OHIO

STATE OF OHlO l : Case No. Bl70l492
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Plainti’l';é\i\E/\Td<rg§ SSH§,‘}'\S,

z (Judge Jerorne J . l\/letz)

VS- AUG 2 5 2017
sAM`uEL RoBrNs@n § MoTIoN To MITIGATE
AB Pu§q
common PtEAsEd/'dbers z SENTENCE

Defendant.

 

Now comes the Defendant, throth counsel, and respectfully request the Court
the Cou`rt mitigate his sentence Mr. Robinson pleaded guilty to the sole count of the
indictment, possession of cocaine (FS). Qn June 13, 2017, the Court sentenced l\/lr.
Robinson to 180 days in the lustice Center, and 3 years lSP probation. As a condition of
prob ation, the Court ordered Mr. Robinson to enter and complete the l\/len’s Extended
’l`reatmen-t Pro grain For the reasons set forth herein, Mr. Robinson is respectfully
requesting the Coiirt to mitigate his sentence Specifically, Mr. Robinson is respectfully
requestingthat the Court permit him to enter into outpatient substance abuse treatment
and ayoid any further incarceration or lock-up facility.

Respectr`ully submitted,

 

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§ Manhetv/si' .chuii (608‘§112)
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MEMORANDUM IN SUPPGRT

Mr. Robinson is a very sick man who suffers from chronic pain, hypertension and
avascular necrosis. Mr. Robinson is scared for his health, and does not believe that the
l\/len’s Extended Pro gram nor the lustice (§jenter is capable of providing the medical care
he needs ln a perfect World, Mr. Robinson Would like to secure outpatient treatment
through the Talbertll~louse. l-le believes the Talbert l-louse Would also help him obtain the
medical care that he needs.,

For the Court’s review, counsel has attached medical records provided by l\/lr.
Robinson dating back to 2013. See Exhibits A though G. The medical records are not
comprehensive, but should serve to establish l\/lr. Robinson’s long standing health
problems y

l\/lr. Robinson struggles from avascular necrosis ot` the hip. Avascular necrosis
causes abone to die due to a lack of blood supply. This condition causes him extreme
pain, and resulted in a total hip arthropladty of the left hip in 2013. (S ee EX. B, p.6, and
Ex. G). Despite the replacement of the left hip, Mr. Robinson still suffers from avascular
necrosis. The diagnosis is specifically mentioned in the medical records dated,
November 7, 2014 (Ex. F, p. 2 - discharge instructions), May 3, 2015 (EX. E, p. 3), and
Apri122, 2017 (hx. C, p. 2), and Iune 19, 2017 (EX. B, p. 5).

l\/lr. Robinson also suffers from chrome pain. ln the medical records dated April
22, 2017), Mr. Robinson’s diagnosis reads, “CHRONIC PAIN SYNDROME,

AVAS CULAR NECROSIS (HCC), CHRONIC PAl`N OF BOTH SHOULDERS,

CHRONIC PAIN OF BOTl-l ANKLES, BlLATERAL HIP PAIN, and KNEE

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EFFUSION, LEFT§.” (Ex. C, p 2). Chronic pain is also specifically referenced in the
medical records dated May 3, 2015 (Ex. E, p.3), and Novernber 7, 2014 (EX. F, p. l)

Mr. Robinson reports to counsel that he experience the most severe pain in his
shoulders l\/ir. Rob'inson had an appointment to see an orthopedic specialist regarding
his shoulder on August 16, but missed his appointment because he was locked up in the
lustice Center k

Mr. Robinson’ s daily medication is listed m his records dated June 27 , 2017 (EX.
A, p. l). For pain, Mr. Robinson takes amitriptyline (l tablet nightly), asprin (1 tablet
daily), oXyCOD ONE-aceteaminophen (l tablet every 8 hours, as needed).l Mr. Robinson
also takes Lisinopril and hydrochlorothiazide to treat high blood pressure

l\/lr. Robinson does not have access to his medicines in the lustice Center (other
thanf aspirin), and as a result, has suffered immense discomfort Further due to jail
overcrowding, Mr. Robinson was given the difficult choice of sleeping on the floor, or in
segregation

For the foregoing reasons, Mr. Robinson respectfully requests that the Couit
consider mitigating his sentence such that Mr. Robinson can avoid lock-up, and secure

the medical attention he desperately nedds.

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Respec§tfully Submitted,

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§ Mauhew meant h 6608511\2)
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(513) 321-0855 (FaX)
mschuh@sandg.net

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l hereby certify that l have served a§ copy of the foregoing Demancl upon the

office of the Hamilton County Prosecuting Attomey.

    

l\/latthgw/S,/S § huh
Attomey for Samuel

Robinson

CaSe: 1217-CV-00652-S.]D DOC #Z 1 Filed: 09/28/17 Page: 18 Of 20 PAGE|D #Z 18

Cornm_issloner Todd Portune

President, Board of County Commissioners

Commissioner Portune,

This morning l received a thorough report from my Jail Comrnanders detailing a number of
concerns related to overcrowding at the Hamilton County Justice Center. As you know we have
had numerous meetings regarding this issue. For approximately a year now | have been
warning all county agencies of the disturbing and unsustainable upward trend of our inmate
population count at the jail. As the Commanders pointed out in their letter to me (attached) we
reached a boiling point this week. l cannot and will not jeopardize the safety of my Deputies
and subject them to an ongoing volatile, dangerous environment in ourjaii. Nor will l put the
inmates, medical staff and others in harm’s way. l have a statutory obligation to provide for the
care, custody and control of the individuals being housed in our facility as well as keep the
peace. Under our current situation l simply cannot fulfill those obligations Therefore, as ot
today l am officially notifying you.| have declared a “State of Emergency" at the Justice Center.
l have reached out to neighboring counties to determine their ability to house a number of our
inmates in an attempt_to alleviate part of our overcrowding

l’il remind you this is not an easy decision, but it is the right thing to do and my only option
State law does not allow me to alter inmate sentences Your own !County Risk Nlanagement, as
well as the Hami|ton County Prosecutor’s Ott"lce and State Jail lnspectors ali concur we are now
well outside of acceptable practices at the jail. l have no choice but to act, and act l will, for the
safety of everyone involved As always l look forward to continuing to work with your Board,
County Administration and other county agencies involved in criminal justice to look for both
short term and long term solutions to this pressing problem

Respectfuliy,

Sheriff Jim Neil

 

 

 

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HAMILTON COUNTY

INTERDEPARTMENTAL CORRESPONDENCF.

 

ro: - sherirfnm Neil FRoM Majoichrisi<¢aeman

Via Chain of Command ` k _ ‘ Jail Services Division
AT: H.C.J.C. ` g y ,
SUBJECT`: Overcrowding l ' 2 DATB: August 14, 2017

Sheriff Neil, v §

As you are aware, we are currently operating wider a State of Emergency at the lustice Center
Since mid- lurie we have been consistently housing 25 Harnilton County inmates at the Butler
County Jail to help alleviate oui State of Einergency Unfortunately, moving these inmates has
provided only minimal relief of the overcrowding at the Justice Center, and at a steep cost E_very
30 days we are charged a signiicant fee in excess of $5 8 OOO. Despite this relocation, each night
we are left with an average of 65 to 75 inmates for whom there is no cell in which to secure them
and without a bed to sleep. ,These overflow inmates are currently being distributed throughout the
rest of the lustice Ceiiter to sleep on “boats” in they open day-ispaces. Due to jail minimum
standards, these overflow initiates must have access to a working toilet and because of the current
design of the Just:ice Center, the only available toilets are inside cells Therefore, we must keep a
cell unoccupied and open to the overflow inmates Sleeping` in the open day spaces Through this
course of action, we are losing the ability to house two inmates in every one of these cells

Due to the financial burden of housing inmates at Butler County, we have been tirelessly
researching ways to return these inmates to the Justice Center ln order to do so, we had to
consider ways to increase our capacity. We have been able to identify two immediate sdlutions
Both require an initial cost which would be recouped m less than a month

Several years ago the showers were remodeled and a decision was made to remove all toilets in
the day-space areas Due to jail overcrowdin, we are implementing a temporary solution and
have inmates sleeping m the day-spaces As stated previously, this requires us to leave one open
cell in each affected unit so that the inmates have access to a toilet. We are currently utilizing 16
different units as overflow units; as a result, we haiye 16 cells that we cannot utilize to house
inmates lf these cells were all double-_celled, 32 more inmates could potentially be housed at the
Justice Center. » l

lt is the recommendation of the lail Command Staff that the lBoard_ of County Commissioners
purchase 26 toilets to be re-installed in all of the larger units of the Justice Center. By doing this,
we would have much greater flexibility to adjust the fioater units when needed.: Due to the

current State of Emergency, we are proposing that 116 toilets be purchased and installed _

immediately for each one of our floater units currently housing overtlow inmates ‘ The
approximate cost for the purchase of the 16 of the 26 toilets would be approximately $48, 000.

The Justice Center currently has 136 single bed cells. We researched the cost of purchasing
additional beds and initially priced them at approximately $250 per bed. While we were in the
process of pricing new beds a Sergeant suggested that we contact the owners of Quee_nsgate
Correctional, since he Was aware that they have used beds stored in that facility. After some
negotiations, they agreed to sell us the beds at an extremely discounted ratel of $25 per bed,
totaling a mere $3, 400 Therefore, we are requesting that the Board of County Commissioners

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purchase an additional 136 beds and install them in the single-bed cells, making them double-
celled cells; this would potentially allow us to house an additional 136 inmates depending on
classification

Although the installation of the toilets and beds `will not alleviate the overcrowding, it would be a-

large step in working towards our goal of not being forced to house inmates §at Butler County.
Again the approximate cost of housing 25 inmatesi at Butlei County is $58, 000 a month In

comparison, the cost of installing the additional toilets and beds is approximately $51 4`.00 By:
installing the additional beds and toilets, the§ likelihood of sending additional inmates to Butler

County would be dramatically cut Piirtherrnore, the possibility of being able to return the
inmates currently housed 111 Butler County would increase

Although neither of these suggestions will completely eliminate our overcrowding it will
increase our flexibility in the manner in which we can house inmates. lt is, therefore, our
recommendation that discussions be held with the Cornrnissioners to determine if they would
purchase the additional beds and toilets.

Respectfully submitted,

 

 

Comrnander Dave Turner Maj or Chris Ketteman§‘
Jail Services Division l Iail Services Division ‘

